   Case: 1:23-cv-05538 Document #: 34 Filed: 01/22/24 Page 1 of 2 PageID #:2488




                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

      LEGEND PICTURES, LLC,

             Plaintiff,                                    Civil Action No.: 1:23-cv-05538

      v.                                                   Judge Harry D. Leinenweber

      THE PARTNERSHIPS AND                                 Magistrate Judge Jeffrey Cole
      UNINCORPORATED ASSOCIATIONS
      IDENTIFIED ON SCHEDULE “A”,

             Defendants.

                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on October 10, 2023 [32] in favor

of Plaintiffs and against the Defendants Identified in Amended Schedule A. Plaintiffs acknowledge

payment of an agreed upon damages amount, costs, and interest and desires to release this

judgment and hereby fully and completely satisfy the same as to the following Defendants:

             NO.                                 DEFENDANT



       THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
Case: 1:23-cv-05538 Document #: 34 Filed: 01/22/24 Page 2 of 2 PageID #:2489




              22




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